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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

          v.                                        Case No. 1:20-cr-10177-PBS

 AMIN KHOURY,

                        Defendant.


        DEFENDANT AMIN KHOURY’S ASSENTED-TO MOTION FOR LEAVE
            TO FILE A MOTION TO CONTINUE TRIAL UNDER SEAL

        Defendant Amin Khoury respectfully moves this Court for leave to file, under seal, a

motion to continue the trial date (“Submission”).

        As grounds for the motion, Mr. Khoury states that he requests to file the Submission under

seal because it relates to the personal health information of an individual involved in the upcoming

trial in this case.

        WHEREFORE, Mr. Khoury respectfully requests that his motion to file the Submission

under seal be GRANTED.
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                                                Respectfully submitted,


                                                /s/ Eóin P. Beirne
                                                R. Robert Popeo (BBO No. 403360)
                                                Mark E. Robinson (BBO No. 423080)
                                                Eóin P. Beirne (BBO No. 660885)
                                                Cory S. Flashner (BBO No. 629205)
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                                                Counsel for Amin Khoury

Date: April 28, 2022



              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

        I, Eóin P. Beirne, hereby certify that counsel for Defendants conferred with counsel for
the government regarding this motion and the government assents to this motion and to filing
the subsequent document under seal.

                                                /s/ Eóin P. Beirne
                                                Eóin P. Beirne


                               CERTIFICATE OF SERVICE

        I, Eóin P. Beirne, hereby certify that on April 28, 2022, I filed the foregoing with the
United States District Court for the District of Massachusetts using the CM/ECF system and
caused it to be served on all registered participants via the notice of electronic filing.

                                                /s/ Eóin P. Beirne
                                                Eóin P. Beirne




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